 Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 1 of 50




Sumintra K. Khan v. Target Corporation
State Court of Chatham County, State of Georgia
Civil Action File Number: STCV21-01554

Sumintra K. Khan v. Target Corporation
USDC, Southern District, Savannah Division
Civil Action File Number: TBA




     EXHIBIT B: PETITION FOR REMOVAL



             ALL PLEADINGS FILED IN THE
          STATE COURT OF CHATHAM COUNTY
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 2 of 50




                                      IN THE STATE COURT OF CHATHAM COUNTY
                                                 STATE OF GEORGIA


              SUMINTRA K. KHAN,

                        Plaintiff,                               CIVIL ACTION FILE
                                                                 NO. STCV21-01554
                                                                     _______________
              v.
                                                                 JURY TRIAL DEMANDED
              TARGET CORPORATION,

                        Defendant.

                                     COMPLAINT AND DEMAND FOR A TRIAL BY JURY

                     COMES NOW Plaintiff Sumintra K. Khan, by and through counsel, and files this

             Complaint against Defendant Target Corporation, showing the Court and Jury as follows:

                                         PARTIES, JURISDICTION, AND VENUE

                                                                1.

                     Plaintiff Sumintra K. Khan (hereinafter “Plaintiff”) is a resident of the State of New Jersey.

                                                                2.

                     Upon information and belief, Defendant Target Corporation (hereinafter “Defendant”) is a

             foreign corporation doing business in the State of Georgia with its principal office at 1000 Nicollet

             Mall, Minneapolis, Minneapolis, 55403. Defendant may be served through its Registered Agent,

             C T Corporation System, at 289 South Culver Street, Lawrenceville, Georgia, 30046, with

             Summons, process, Complaint, and associated written discovery.

                                                                3.

                     The subject incident occurred on Defendant’s premises located at 14065 Abercorn Street,

             Savannah, Georgia, 31419.




Copy from re:SearchGA
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 3 of 50




                                                                4.

                     Defendant Target Corporation is subject to the jurisdiction and venue of this Court.

                                                FACTUAL BACKGROUND

                                                                5.

                     On or about August 15, 2019, Plaintiff Sumintra K. Khan was an invitee of Target

             Corporation store #1910, located at 14065 Abercorn Street, Savannah, Georgia, 31419 (hereinafter

             “premises”), when Plaintiff suffered a fall due to what appeared to be water on the floor left

             unattended.

                                                                6.

                     At all times material to this action, the premises were owned, controlled, and maintained

             by Defendant Target Corporation.

                                                                7.

                     At the aforesaid time and place, Plaintiff suffered a fall due to liquid left unattended on

             the floor of premises, thereby creating a hazardous condition.

                                                                8.

                     The hazardous condition appeared to come from a cooler located in the grocery department.

                                                                9.

                     Defendant negligently, recklessly, and/or wantonly caused or allowed Plaintiff to fall and

             suffer injuries and damages to Plaintiff’s person by failing to keep and maintain its premises free

             and clear of potentially hazardous conditions of which they were aware or should have known

             through their inspection of the premises for said hazardous conditions. Defendant had actual or

             constructive notice and/or were delinquent in not discovering and removing the hazardous

             condition, and were negligent and/or wanton in allowing or affirmatively creating a hazard by




                                                               2

Copy from re:SearchGA
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 4 of 50




             allowing the hazardous condition to remain in the area in question which was in the path of invitees

             of the Defendant; further, the Defendant was negligent and/or wanton in creating a hazardous

             condition in the path of invitees and did not provide adequate warning to Plaintiff.

                                                                 10.

                     As a proximate and direct result of Defendant’s wrongful conduct as specifically set forth

             hereinafter, Plaintiff has been injured and damaged as follows:

                         a. Plaintiff suffered injuries to various portions of Plaintiff’s body;

                         b. Plaintiff was caused and will be caused in the future to expend sums of money in

                             the nature of doctor, hospital, drug any other medical expenses in and about an

                             effort to heal and cure said injuries;

                         c. Plaintiff has experienced and continues to experience pain and suffering and is

                             reasonably certain to experience pain and suffering in the future;

                         d. Plaintiff was temporarily and potentially permanently unable to pursue usual and

                             normal activities;

                         e. Plaintiff was caused to incur aggravation and/or exacerbation to then existing

                             conditions that Plaintiff either did or did not know of at the time of this incident;

                         f. Plaintiff has experienced and continues to experience mental anguish;

                         g. Plaintiff is reasonably certain to experience mental anguish in the future;

                         h. Plaintiff was caused to incur out-of-pocket medical expenses; and

                         i. Plaintiff was caused to suffer both past and future lost wages, loss of income, loss

                         of earning capacity and lost employment benefits.




                                                                3

Copy from re:SearchGA
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 5 of 50




                                                COUNT I – NEGLIGENCE

                                                                11.

                     Plaintiff hereby re-alleges and re-avers all of the allegations contained in the preceding

             paragraphs of this Complaint the same as if here again set out in both letter and number.

                                                                12.

                     As described in the Factual Background above, on the date in question Plaintiff was an

             invitee at Defendant’s premises, Plaintiff suffered an injury resulting from an unresolved hazard

             at the Defendant’s premises.

                                                                13.

                     Defendant negligently caused or allowed Plaintiff to be injured on their premises as they

             failed to keep and maintain its premises to be free and clear of potentially hazardous conditions.

             Defendant had actual or constructive notice and/or were delinquent in not discovering and

             removing the hazardous condition, and were negligent and/or wanton in affirmatively creating a

             hazard or not warning their invitees of said hazardous condition that was situated in a dangerous

             area and/or location inasmuch as it was located in an area that was regularly traveled by invitees.

             Further, Defendant was negligent in failing to warn Plaintiff of this dangerous condition that

             existed on their premises that was a hazard to their invitees.

                                                                14.

                     As a proximate and direct result of Defendant’s wrongful conduct as specifically set forth

             hereinafter, Plaintiff has been injured and damaged as described above, herein.




                                                               4

Copy from re:SearchGA
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 6 of 50




                                           COUNT II – PREMISES LIABILITY

                                                                15.

                     Plaintiff hereby re-alleges and re-avers all of the allegations contained in the preceding

             paragraphs of this Complaint the same as if here again set out in both letter and number.

                                                                16.

                     As described in the Factual Background above, on the date in question Plaintiff was an

             invitee of Defendant’s premises, Plaintiff suffered an injury resulting from an unresolved hazard

             at the Defendant’s premises.

                                                                17.

                     Defendant negligently, recklessly and/or wantonly caused or allowed a hazard to remain in

             an area that was used by its invitees.

                                                                18.

                     At the aforesaid time and place, Defendant was the owner or lessee of the property and as

             such had a duty and responsibility to provide Plaintiff a safe place as an invitee. Further, if any

             defects in their owned or leased premises existed, Defendant had the duty to warn its invitees of

             hazards of which it knew or should have known that were not easily discoverable by the invitees.

             Said Defendant negligently, wantonly, recklessly and/or willfully breached these duties by failing

             to provide Plaintiff with a safe place as in invitee and by failing to warn the Plaintiff of the hazard

             and/or defect which were encountered which was known to Defendant or which Defendant

             negligently failed to detect in their use, operation and maintenance of and upon the premises. Said

             negligent, wanton, reckless and/or willful conduct was a proximate cause of Plaintiff’s injuries and

             damages.




                                                               5

Copy from re:SearchGA
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 7 of 50




                                                                19.

                     Defendant was owner or lessee of the property at issue and, as such, said Defendant had

             the right to and did control the conditions, methods and manner in which the premises was

             inspected, maintained and configured. Defendant also controlled the inspecting and maintaining

             of said invitee areas and Defendant is also responsible for establishing patterns and routes for its

             invitees to walk and/or travel around and about the premises at the time and place of the occurrence

             made the basis of Plaintiff’s complaint. Defendant negligently and/or wantonly caused or allowed

             Plaintiff to be injured as a result of the breach of the duties that the aforementioned Defendant

             owed to Plaintiff in causing or allowing the premises upon which Plaintiff was injured to be

             unreasonably hazardous or by ignoring the present hazard or creating the hazard by their process

             of organizing, cleaning, polishing, etc. Said Defendant negligently, wantonly, recklessly and/or

             willfully failed to properly control the conditions, methods and manner in which the floor was

             maintained and presented to the invitees for their use in ambulating and/or traveling about the store

             as invitees moved about the premises and said negligent, wanton, reckless and/or willful conduct

             was a proximate cause of Plaintiff’s injuries and damages.

                                                                20.

                     Plaintiff avers that Defendant negligently, wantonly, recklessly, purposely, intentionally,

             willfully or by design caused injury to Plaintiff. Defendant negligently, wantonly, recklessly

             and/or willfully caused or allowed the hazardous condition to remain in a foreseeably traveled area

             in a main travel area and failed to remedy the hazardous situation and/or address the unreasonably

             dangerous area, and said Defendants had actual knowledge of the hazardous condition or said

             hazardous condition had existed for such an unreasonable length of time so as to create a

             presumption of knowledge of such hazardous area on the part of said Defendant.




                                                               6

Copy from re:SearchGA
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 8 of 50




                                                                21.

                     At the aforesaid time and place, Defendant did negligently, wantonly, and/or willfully

             cause or negligently, wantonly and/or willfully allow Plaintiff to be injured.

                                                                22.

                     Defendant negligently, wantonly and/or willfully failed to warn Plaintiff of the dangers

             associated with the potentially hazardous area for the purpose of eliminating the possibility of said

             Plaintiff being injured, and said negligent, wanton and/or willful conduct was a proximate cause

             of Plaintiff’s injuries as described herein.

                                                                23.

                     Plaintiff alleges that the injuries and damages were caused as a proximate consequence of

             the negligent, willful and/or wanton conduct and other wrongful conduct of Defendant.

                                                                24.

                     The aforesaid wrongful, negligent, willful and/or wanton conduct of each of the above-

             described Defendant combined and concurred, and as a proximate cause thereof, Plaintiff was

             caused to be severely injured.

                                                                25.

                     As a proximate and direct result of Defendant’s wrongful conduct as specifically set forth

             hereinafter, Plaintiff has been injured and damaged as described above, herein.




                                                               7

Copy from re:SearchGA
                   CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR        Document
                              COURT CLERK CHATHAM CO. GA,             1-2PM Filed
                                                          8/13/2021 12:31           11/12/21 Page 9 of 50




                               COUNT III – NEGLIGENT, RECKLESS, AND WANTON
                                         SUPERVISION AND TRAINING

                                                                26.

                     Plaintiff hereby re-alleges and re-avers all of the allegations contained in the preceding

             paragraphs of this Complaint the same as if here again set out in both letter and number.

                                                                27.

                     As described in the Factual Background above, on the date in question Plaintiff was an

             invitee of Defendant’s premises, Plaintiff suffered an injury resulting from a hazardous condition

             at the Defendant’s premises.

                                                                28.

                     Defendant was under an obligation and duty to train and supervise their employees to

             properly inspect the foreseeably accessible areas for their invitees so that there are no dangerous

             conditions which were not readily discoverable to their invitees.

                                                                29.

                     Defendant negligently, wantonly, and recklessly failed to properly train employees to

             inspect and to keep the property and/or premises free and clear of dangerous conditions.

             Defendant’s failure to properly train its employees directly resulted in Plaintiff’s injuries as

             described herein.

                                                                30.

                     As a direct and proximate consequence of Defendant’s negligent, reckless and wanton

             training and supervision, Plaintiff was injured and damaged as described above, herein.




                                                               8

Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 10 of 50




                     WHEREFORE, Plaintiff requests the following:

                     (a)    That Defendant be served with process;

                     (b)    That Plaintiff recover from Defendant, jointly and severally, for past, present and

                            future pain and suffering, both physical and mental, past, present and future medical

                            expenses, past, present and future lost wages, and for permanent injury, as

                            determined by a fair and impartial jury;

                     (c)    That Plaintiff have a trial by jury of their peers;

                     (d)    That Plaintiff recover all expenses of litigation, including attorneys’ fees;

                     (e)    That Plaintiff have such other, further and different relief as allowed by Georgia

                            law and as this Court and the jury deem just and appropriate.



                     This 13th day of August, 2021.

                                                                    Respectfully Submitted,

                                                                    /s/ J. Ross Massey
                                                                    J. ROSS MASSEY
                                                                    Georgia Bar No. 788136
                                                                    SAIF S. AHMED
                                                                    Georgia Bar No. 684067
                                                                    Counsel for Plaintiff

             SHUNNARAH INJURY LAWYERS, P.C.
             1374 S. Milledge Avenue
             Athens, GA 30605
             (706) 355-6003 | Telephone
             (205) 983-8445 | Fax
             rmassey@asilpc.com




                                                               9

Copy from re:SearchGA
                          Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 11 of 50

                                                                                                 Superior Court                        Magistrate Court

      Civil Action No. S1CY.2..:1-,0,41554                                                       State Court        X•                 Probate Court
                        1Liif.."44                                                               Juvenile Court
      Date Filed 08/13/2021       '
                                                                                                 Georgia, CHATHAM                                          COUNTY

                       -
      Attorney's Address                                                                            SUMINTRA K. KHAN

       J. ROSS MASSEY, ESQ.
       SHUNNARAH INJURY LAWYERS, P.C.                                                                                                              Plaintiff
       1374 S. MILLEDGE AVENUE                                                                                                Vs.
       ATHENS, GA 30605
       P:(706) 355-6003 I F:(205) 983-8445                                                       TARGET CORPORATION
      Name and Address of Party to Be Served

       TARGET CORPORATION                                                                                                                          Defendant

       do Registered Agent, C T CORPORATION SYSTEM


       289 S CULVER STREET, LAVVRENCEVILLE, GA 30046
                                                                                                                                                   Garnishee
                                                              SHERIFF'S ENTRY OF SERVICE                                                   , J
                                                                                                                                           1 .
                                                                                                                                                   ,        ,•—
                                                                                                                                        C, ,..,
                 I have this day served the defendant                                                                    personally with a copy the within
                                                                                                                                                        .
                                                                                                                                                           action
                                                                                                                                                                ,....
                                                                                                                                                                     and
                summons                                                                                                                i -t
                                                                                                                                                           t
r.'                                                                                                                                                          !




               I have this day served the defendant                                                                         by leaving a
               copy of the action and summons at his most notorious place of abode in this County.

               Delivered same into hands of                                                                       described as follows:
               age, about         years; weight             pounds; height, about        feet and         inches, domiciled at the residence of defendant.



              Served the defendant             C /-}4 -    "    (.(..0/ I "9                                           a corporation
              by leaving a copy of the within actionAnd summons with                A 61,7,             .I h   c     p"
              in charge of the office and place of doing business of said Corporation in this County.



              I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
              designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
              envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the
              defendant(s) to answer said summons at the place stated in the summons.
                                                                                            a


              Diligent search made and defendant
              not to be found in the jurisdiction of this Court.



      This    IC() day of                                                 ,   Zi



                                                                                           1.11. 111/.44/7               5°6.411
                                                                                                                                                  DEPUTY
      SHERIFF DOCKET                           PAGE


      SC-2 Rev. 85
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31                                            11/12/21 Page 12 of 50

                                   General Civil and Domestic Relations Case Filing Information Form

                                             Superior or        State Court of ______________________________ County

              For Clerk Use Only
                               8/13/2021                                                                 STCV21-01554
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First           Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First           Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First           Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First           Middle I.   Suffix   Prefix

      Plaintiff s Attorney ________________________________________                      Bar Number __________________            Self-Represented

                                                               Check One Case Type in One Box

              General Civil Cases                                                             Domestic Relations Cases
                          Automobile Tort                                                                  Adoption
                          Civil Appeal                                                                     Dissolution/Divorce/Separate
                          Contract                                                                         Maintenance
                          Garnishment                                                                      Family Violence Petition
                          General Tort                                                                     Paternity/Legitimation
                          Habeas Corpus                                                                    Support IV-D
                          Injunction/Mandamus/Other Writ                                                   Support Private (non-IV-D)
                          Landlord/Tenant                                                                  Other Domestic Relations
                          Medical Malpractice Tort
                          Product Liability Tort                                              Post-Judgment             Check One Case Type
                          Real Property                                                                  Contempt
                          Restraining Petition                                                            Non-payment of child support,
                          Other General Civil                                                             medical support, or alimony
                                                                                                         Modification
                                                                                                         Other/Administrative

              Check if the action is related to another action(s) pending or previously pending in this court involving some or all
              of the same parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

              I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

              Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                           Language(s) Required

              Do you or your client need any disability accommodations? If so, please describe the accommodation request.
              _________________________________________________________________________________________________________________________
              _________________________________________________________________________________________________________________________
                                                                                                                                                    Version 1.1.18



Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 13 of 50




                                  IN THE STATE COURT OF CHATHAM COUNTY
                                             STATE OF GEORGIA

             SUMINTRA K. KHAN,

                     Plaintiff,                               CIVIL ACTION FILE
                                                                    STCV21-01554
                                                              NO. _______________
             v.

             TARGET CORPORATION,

                     Defendant.

                  PLAINTIFF’S INTERROGATORIES TO DEFENDANT TARGET CORPORATION

                     COMES NOW Plaintiff in the above-styled case and, pursuant to the Georgia Rules of

             Civil Procedure, propounds to Defendant TARGET CORPORATION the following

             Interrogatories to be answered and responded to pursuant to O.C.G.A. Section 9-11-33.

                     You are reminded that under the provision of O.C.G.A. Section 9-11-26 et seq., you are

             under a duty to reasonably supplement your responses with respect to any question directly

             addressed to: (a) the identity and location of persons having knowledge of discoverable matter;

             and (b) matters on which he/she is expected to testify and the substance of his/her testimony.

                     You are under a duty to reasonably amend a prior response if you obtain information

             upon the basis of which: (a) you know that the response was incorrect when made; or (b) you

             know that the response, though correct when made, is no longer true and the circumstances are

             such that a failure to amend this response is, in substance, a knowing concealment.




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 14 of 50




                                                        DEFINITIONS

                     Unless otherwise indicated, the following definitions shall be applicable to these

             Interrogatories:

                     “You” or “Yours” shall mean the Defendant and each of its employees, agents or

             representatives and all other persons acting on its behalf.

                     “Person” shall mean any individual, partnership, firm association, corporation or other

             business, government or legal entity.

                     “Document” shall mean any written, recorded, transcribed, punched, taped, filmed or

             graphic matter of any kind or description, however produced or reproduced.

                     “Identify” or “Identification,” when used with reference to a person, shall mean to state

             the full name, present or last known address, home and work telephone numbers and position of

             employment.

                     “Identify” or “Identification,” when used with reference to a document, shall mean to

             state its date, author, signor, addressee and all other means of identifying it and its present or last

             known location or custodian. If any document was, but is no longer in your possession, custody

             or control, state what disposition was made of it and the reason for its disposition.

                     “Incident” means the occurrence as alleged in the Plaintiff’s Complaint at the

             Defendant’s location.

                                                   INTERROGATORIES

                    1.      Are you named correctly in the Complaint? If not, how should you be correctly

             designated in an action at law?

                    2.      Please identify by name and address the individual responsible for answering

             these Interrogatories.

                                                               2




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 15 of 50




                    3.       Have you been advised that these Interrogatories and the accompanying Requests

             for Production are required to be answered under oath?

                    4.       Please identify each expert that you plan on having testify at the trial of this cause,

             including any and all medical experts. Additionally, please give a summary of the opinions

             which you expect each expert to testify at trial in compliance with Rule 26 and state in detail

             each and every fact upon which said expert reviewed prior to forming said opinions.

                    5.       Please identify who will serve as the representative of the Defendant at counsel

             table in the event this matter is tried before a finder of fact.

                    6.       Identify the insurance carrier and state the policy limits of each and every liability

             policy of insurance which will or may provide any coverage for Defendant arising out of the

             incident made the basis of this lawsuit.

                    7.       For all documents withheld from identification and/or production based upon only

             theory of privilege or other objection to any of Plaintiff’s discovery requests served in this

             lawsuit, describe said document with particularity (i.e. – give a description of the document, state

             when the document was generated and state the subject matter of the document).

                    8.       Who – whether and individual or business entity – owns the premises where said

             incident occurred?

                    9.       Does a third-party, other than named in the Complaint or response to the previous

             question, operate, clean, care for, or maintain the premises where said incident occurred? If so,

             please name said third-party.

                   10.       Please state the most current information regarding the name, address and

             telephone number of every employee, including their job title/description, who worked on the

             date of incident per Plaintiff’s Complaint as the location in question.

                                                                 3




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 16 of 50




                   11.      Please list and identify each employee of Defendant who has knowledge, in any

             way, of the incident made the basis of this suit.

                   12.      Please identify each person – other than employees named above – who has

             knowledge concerning the facts surrounding the incident made the basis of this suit.

                   13.      Was the Defendant or any of the Defendant’s employees ever made aware of the

             hazard alleged by the Plaintiff, including any reports made by other previous invitees? If so,

             please list the names of those employees who were aware, when they were made aware, and the

             basis of how they became aware of the hazard.

                   14.      Please state in detail your knowledge, as well as each and every employee’s

             knowledge, concerning the presence of the alleged hazardous substance in question which

             Plaintiff encountered, including how long it existed and how it got there.

                   15.      Please state in detail each and every fact known to you, or made known to you

             through third parties, concerning how the incident made the basis of this suit occurred and

             identify each said person.

                   16.      Please state precisely and descriptively the location on the premises where the

             event made the basis of this suit occurred.

                   17.      Please state whether you had any signs posted which warned of a potential hazard

             in the vicinity where Plaintiff was injured.

                   18.      If you contend that warning signs were posted, please state the substance and

             location of each sign.

                   19.      If you contend that Plaintiff was contributorily negligent in any manner

             whatsoever, please state each and every fact upon which you rely in support of said contention.



                                                                 4




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 17 of 50




                   20.      If you contend that Plaintiff assumed the risk of said injuries, please state each

             and every fact upon which you rely in support of said contention.

                   21.      If you contend the hazard encountered by the Plaintiff was open and obvious, then

             please state each and every fact upon which you rely.

                   22.      Please state whether you have any policy, procedure or safety program instituted

             regarding maintaining a safe condition at the premises where Plaintiff was injured, including

             maintenance and monitoring of these areas where guests or invitees would navigate. If so, please

             state the substance of said policy, procedure or safety program.

                   23.      Please state if a video of the Plaintiff’s alleged incident exists, or ever existed, and

             who has viewed said video as well as who possesses the video at this time.

                   24.      Please state if a photos of the area where the alleged incident occurred exist, or

             ever existed, and who has viewed said photos as well as who possesses the photos at this time.

                   25.      Please identify each person from which you have obtained a statement concerning

             the incident made the basis of this lawsuit.

                   26.      Please state whether a displaced substance and/or object was located where

             Plaintiff was injured, immediately prior to the incident made the basis of this lawsuit.

                   27.      If a displaced substance and/or object was located upon the floor, please state

             what steps, if any, you (or the Defendant’s employees) took to clear the object/substance from

             the area and identify the individual responsible for performing the task.




                                                               5




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 18 of 50




                     This 13th day of August, 2021.


                                                                  Respectfully Submitted,

                                                                  /s/ J. Ross Massey
                                                                  J. ROSS MASSEY
                                                                  Georgia Bar No. 788136
                                                                  SAIF S. AHMED
                                                                  Georgia Bar No. 684067
                                                                  Counsel for Plaintiff
             SHUNNARAH INJURY LAWYERS, P.C.
             1374 S. Milledge Avenue
             Athens, GA 30605
             (706) 355-6003 | Telephone
             (205) 983-8445 | Fax
             rmassey@asilpc.com




                                                              6




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 19 of 50




                                  IN THE STATE COURT OF CHATHAM COUNTY
                                             STATE OF GEORGIA

             SUMINTRA K. KHAN,

                     Plaintiff,                               CIVIL ACTION FILE
                                                                     STCV21-01554
                                                              NO. _______________
             v.

             TARGET CORPORATION,

                     Defendant.

                        PLAINTIFF’S REQUEST FOR PRODUCTION OF DOCUMENTS TO
                                   DEFENDANT TARGET CORPORATION

                     COMES NOW Plaintiff in the above-styled case and, pursuant to the Georgia Rules of

             Civil Procedure, propounds to Defendant, TARGET CORPORATION the following requests for

             production to be answered and responded to within the next forty-five (45) days.

                     You are reminded that under the provision of O.C.G.A. Section 9-11-26 et seq., you are

             under a duty to reasonably supplement your responses with respect to any question directly

             addressed to: (a) the identity and location of persons having knowledge of discoverable matter,

             and (b) the identity of each person expected to be called as an expert witness at trial, the subject

             matter on which he/she is expected to testify, and the substance of his/her testimony.

                     You are under a duty to reasonably amend a prior response if you obtain information

             upon the basis of which: (a) you know the response was incorrect when made, or (b) you know

             that the response, though correct when made, is no longer true and the circumstances are such

             that a failure to amend this response is, in substance, a knowing concealment.




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 20 of 50




                                                       DEFINITIONS

                     Unless otherwise indicated, the following definitions shall be applicable to these

             Requests:

                     “You” and “Yours” shall mean the defendant and each of its employees, agents, or

             representatives and all others acting on its behalf.

                     “Persons” shall mean any individual, partnership, firm association, corporation or other

             business, government or legal entity.

                     “Document” shall mean any written, recorded or transcribed, punched, taped, filmed or

             graphic matter of any kind or description, however produced or reproduced.

                     “Identify” or “Identification,” when used with reference to a person, shall mean to state

             the full name, present or last known address, home and work telephone numbers and position of

             employment.

                     “Identify” or “Identification,” when used with a reference to a document, shall mean to

             state its date, author, signor, addressee and all other means of identifying it and its present or last

             known location or custodian. If any document was, but is no longer in your possession, custody

             or control, state what disposition was made of it and the reason for its disposition.

                                 REQUESTS FOR PRODUCTION OF DOCUMENTS

                     1.     Please produce a complete and accurate copy of any and all accident and/or

             incident reports concerning the incident made the basis of this suit, in addition to any and all

             documentation of the events surrounding the incident made the basis of this suit.

                     2.     Please produce a complete and accurate copy of any security and/or surveillance

             video which captured and/or recorded the incident made the basis of this suit.



                                                               2




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31          11/12/21 Page 21 of 50




                     3.        Please produce a copy of any still color photographs which depict the area of the

             hazard and/or the incident made the basis of this suit.

                     4.        Please produce a copy of any still color photographs taken of Plaintiff at any time

             since the incident that is the basis of this suit.

                     5.        Please produce a complete and accurate copy of any policy, procedure or safety

             program in place at the time of the incident made the basis of this suit, regarding the maintenance

             of floors, walk-ways, and shelving within Defendant’s facility, including but not limited to

             Defendant’s facility where the incident made the basis of this suit occurred, to ensure a safe

             condition.

                     6.        Please produce a complete and accurate copy of any and all documents, color

             photographs and/or videotapes that you intend to introduce into evidence at the trial of this case.

                     7.        Please produce a complete and accurate copy of the time sheets, punch cards or

             other method for accounting for your employees present and for their time worked on the date of

             the subject incident referenced in the Complaint.

                     8.        Please produce a complete and accurate transcript of any statements obtained

             from Plaintiff.

                     9.        Please produce a complete and accurate transcript of any statements obtained by

             you, or on your behalf, concerning the subject litigation.

                     10.       Please produce a complete and accurate transcript of any correspondence between

             you and Plaintiff, or Plaintiff’s representatives, occurring before Plaintiff filed this lawsuit.

                     11.       Please produce the entire file of any expert that you intend to call to testify at the

             trial of this case.



                                                                  3




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 22 of 50




                     12.      Please produce a current curriculum vitae of any expert that you intend to call to

             testify at the trial of this case.

                     13.      Please produce a list of each litigation case in which your expert has rendered an

             opinion or given sworn testimony in the past five (5) years.

                     14.      Please produce a complete and accurate copy of any and all policies of insurance

             which will or may provide coverage to this Defendant in the subject litigation.

                     15.      Please produce a copy of all records obtained regarding Plaintiff. [You have a

             continuing duty to supplement this Request. Additionally, please consider this a formal request

             for all records obtained through non-party requests and subpoenas].


                     This 13th day of August, 2021.

                                                                   Respectfully Submitted,

                                                                   /s/ J. Ross Massey
                                                                   J. ROSS MASSEY
                                                                   Georgia Bar No. 788136
                                                                   SAIF S. AHMED
                                                                   Georgia Bar No. 684067
                                                                   Counsel for Plaintiff
             SHUNNARAH INJURY LAWYERS, P.C.
             1374 S. Milledge Avenue
             Athens, GA 30605
             (706) 355-6003 | Telephone
             (205) 983-8445 | Fax
             rmassey@asilpc.com




                                                              4




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 23 of 50




                                  IN THE STATE COURT OF CHATHAM COUNTY
                                             STATE OF GEORGIA

             SUMINTRA K. KHAN,

                     Plaintiff,                               CIVIL ACTION FILE
                                                                    STCV21-01554
                                                              NO. _______________
             v.

             TARGET CORPORATION,

                     Defendant.

                                        RULE 5.2 CERTIFICATE OF SERVICE

                     In accordance with Uniform State Court Rule 5.2, as amended, the undersigned hereby

             certifies that the following discovery is to be served contemporaneously with the Complaint and

             Summons upon Defendant:

                  1. Plaintiff’s First Interrogatories to Defendant Target Corporation; and
                  2. Plaintiff’s First Request for Production of Documents to Defendant Target Corporation.

                     This 13th day of August, 2021.

                                                                  Respectfully Submitted,

                                                                  /s/ J. Ross Massey
                                                                  J. ROSS MASSEY
                                                                  Georgia Bar No. 788136
                                                                  SAIF S. AHMED
                                                                  Georgia Bar No. 684067
                                                                  Counsel for Plaintiff

             SHUNNARAH INJURY LAWYERS, P.C.
             1374 S. Milledge Avenue
             Athens, GA 30605
             (706) 355-6003 | Telephone
             (205) 983-8445 | Fax
             rmassey@asilpc.com




                                                              1




Copy from re:SearchGA
                  CaseSTATE
     RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                              COURT CLERK CHATHAM CO. GA,            1-2PMFiled
                                                          8/13/2021 12:31         11/12/21 Page 24 of 50




                                     IN THE STATE COURT OF CHATHAM COUNTY
                                                STATE OF GEORGIA

              SUMINTRA K. KHAN,

                        Plaintiff,                              CIVIL ACTION FILE
                                                                NO. STCV21-01554
                                                                    _______________
              v.

              TARGET CORPORATION,

                        Defendant.

                                                        SUMMONS

             TO THE ABOVE NAMED DEFENDANT(S):

                     Target Corporation
                     c/o C T Corporation System
                     289 S. Culver Street
                     Lawrenceville, GA 30046

                     You are hereby summoned and required to file with the Clerk of said Court and serve upon
             Plaintiff’s Attorney, whose name and address is:

             J. Ross Massey, Esq.
             Saif S. Ahmed, Esq.
             SHUNNARAH INJURY LAWYERS, P.C.
             1374 S. Milledge Avenue
             Athens, GA 30605
             (706) 355-6003 | Telephone
             (205) 983-8445 | Fax
             rmassey@asilpc.com

             an Answer to the Complaint which is herewith served upon you, within 30 days after service of
             this Summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
             will be taken for the relief demanded in the Complaint.

                     This 13th day of August, 2021.


                                                           By:   /s/ Moneisha Green
                                                           Deputy Clerk




Copy from re:SearchGA
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 25 of 50




                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SUMINTRA K. KHAN,                                 )
                                                           )
                 Plaintiff,                                )
                                                           )      CIVIL ACTION
         v.                                                )      FILE NO. STCV21-01554
                                                           )
         TARGET CORPORATION,                               )
                                                           )
                 Defendant.                                )
                                                           )

                                 DEFENDANT TARGET CORPORATION’S
                                 DEMAND FOR TWELVE PERSON JURY

                COMES NOW Defendant Target Corporation (“hereinafter referred to as “Target”) named

        in Plaintiff’s Complaint, by and through undersigned counsel, and pursuant to O.C.G.A. § 15-12-

        122(a)(2), hereby demands that this case be tried by a jury of twelve persons.

                Respectfully submitted this the 17th day of September, 2021.

         GRAY, RUST, ST. AMAND,
         MOFFETT & BRIESKE, L.L.P.                        /s/ Sean Herald_____________
         950 East Paces Ferry Road, N.E.                  Matthew G. Moffett
         Suite 1700 – Salesforce Tower Atlanta            Georgia Bar No. 515323
         Atlanta, Georgia 30326                           Sean T. Herald
         Telephone:    (404) 870-7390                     Georgia Bar No. 246729
         Facsimile:    (404) 870-1030                     Attorneys for Defendant Target Corporation




                                                    Page 1 of 2
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 26 of 50




                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SUMINTRA K. KHAN,                                 )
                                                           )
                 Plaintiff,                                )
                                                           )      CIVIL ACTION
         v.                                                )      FILE NO. STCV21-01554
                                                           )
         TARGET CORPORATION,                               )
                                                           )
                 Defendant.                                )
                                                           )

                                            CERTIFICATE OF SERVICE

                This is to certify that I have this day served a copy of the foregoing DEFENDANT

        TARGET CORPORATION’S DEMAND FOR TWELVE PERSON JURY with the Clerk of

        Court using the electronic filing system, which will send electronic notification to the following

        counsel of record and/or in the alternative via United States Postal Service with adequate postage

        affixed thereto to the following:

                                          J. Ross Massey, Esq.
                                          Saif S. Ahmed, Esq.
                                   SHUNNARAH INJURY LAWYERS, P.C.
                                        1374 S. Milledge Avenue
                                         Athens, Georgia 30605

                Respectfully submitted this the 17th day of September, 2021.

         GRAY, RUST, ST. AMAND,
         MOFFETT & BRIESKE, L.L.P.                        /s/ Sean Herald_____________
         950 East Paces Ferry Road, N.E.                  Sean T. Herald
         Suite 1700 – Salesforce Tower Atlanta            Georgia Bar No. 246729
         Atlanta, Georgia 30326                           Attorneys for Defendant Target Corporation
         Telephone:    (404) 870-7390
         Facsimile:    (404) 870-1030




                                                    Page 2 of 2
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 27 of 50




                                IN THE STATE COURT OF CHATHAM COUNTY
                                           STATE OF GEORGIA

         SUMINTRA K. KHAN,                                    )
                                                              )
                   Plaintiff,                                 )
                                                              )       CIVIL ACTION
         v.                                                   )       FILE NO. STCV21-01554
                                                              )
         TARGET CORPORATION,                                  )
                                                              )
                   Defendant.                                 )
                                                              )

                   DEFENDANT TARGET CORPORATION’S ANSWER AND DEFENSES
                                TO PLAINTIFF’S COMPLAINT

                COMES NOW Target Corporation (hereinafter referred to as “Target”), named in Plaintiff

        Sumintra K. Khan’s Complaint (the “Complaint”) (hereinafter referred to as “Plaintiff”) by and

        through undersigned counsel, and files this, its Answer and Defenses thereto, further showing this

        honorable Court as follows:

                                                  FIRST DEFENSE

                The Plaintiff’s Complaint fails to state a claim against Target upon which relief can be

        granted.

                                                SECOND DEFENSE

                Defendant Target committed no act or omission which caused or contributed to the subject

        incident or the Plaintiff’s alleged injuries.

                                                 THIRD DEFENSE

                Target has breached no duty owed to the Plaintiff.




                                                        Page 1 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 28 of 50




                                               FOURTH DEFENSE

                Any alleged injuries sustained by the Plaintiff were proximately caused in whole or in part

        by the acts or omissions of persons other than Target, over whom Target had no control, or by the

        superseding intervention of causes outside Target’s control.

                                                FIFTH DEFENSE

                Target breached no legal duty owing Plaintiff, and therefore Plaintiff cannot recover from

        Target. At all times, Target exercised that degree of care required by law; therefore, Plaintiff may

        not recover from Target in any sum or manner whatsoever.

                                                SIXTH DEFENSE

                This action is or may be barred by the doctrine of contributory/comparative negligence.

        The Plaintiff’s negligence was greater than or equal to any negligence on the part of the Defendant.

        In the exercise of ordinary care, the Plaintiff could have avoided the subject incident.

                                              SEVENTH DEFENSE

                The Plaintiff’s failure to plead and itemize special damages in this action bars their

        recovery pursuant to O.C.G.A. § 9-11-9(g).

                                               EIGHTH DEFENSE

                Plaintiff is not entitled to an award of attorney’s fees pursuant to O.C.G.A. § 13-6-11

        because Target has not acted in bad faith, been stubbornly litigious or caused Plaintiff unnecessary

        trouble and expense.

                                                NINTH DEFENSE

                Plaintiff’s claims against Target are barred by the applicable statute of limitations.




                                                     Page 2 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 29 of 50




                                               TENTH DEFENSE

                Target denies it negligently, recklessly and/or wantonly trained or supervised its

        employees.

                                             ELEVENTH DEFENSE

                Target reserves the right to assert any additional affirmative defenses as may be disclosed

        during the course of additional investigation and discovery.

                                             TWELFTH DEFENSE

                For a twelfth defense, Defendant Target Corporation (“Target”) responds to the

        enumerated Paragraphs of Plaintiff’s Complaint as follows:

                                   PARTIES, JURIDICTION AND VENUE

                                                         1.

                Target is without knowledge or information sufficient to form a belief as to the truthfulness

        of the allegations set forth in Paragraph 1 of Plaintiff’s Complaint, which therefore stand denied.

                                                         2.

                Target admits the allegations contained in Paragraph 2 of Plaintiff’s Complaint.

                                                         3.

                Target admits Plaintiff was present at the Target store located at 14065 Abercorn Street,

        Savannah, Georgia 31419 on August 15, 2019. Target denies all remaining allegations contained

        in Paragraph 3 of Plaintiff’s Complaint.

                                                         4.

                Target denies the allegations contained in Paragraph 4 of Plaintiff’s Complaint.




                                                    Page 3 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 30 of 50




                                          FACTUAL BACKGROUND

                                                         5.

                Target admits Plaintiff was present at the Target store located at 14065 Abercorn Street,

        Savannah, Georgia 31419 on August 15, 2019. Target denies all remaining allegations contained

        in Paragraph 5 of Plaintiff’s Complaint.

                                                         6.

                Target denies the allegations contained in Paragraph 6 of Plaintiff’s Complaint as written.

                                                         7.

                Target denies the allegations contained in Paragraph 7 of Plaintiff’s Complaint as written.

                                                         8.

                Target denies the allegations contained in Paragraph 8 of Plaintiff’s Complaint as written.

                                                         9.

                Target denies the allegations contained in Paragraph 9 of Plaintiff’s Complaint.

                                                        10

                Target denies the allegations contained in Paragraph 10 and sub-paragraphs 10(a) through

        10(i) of Plaintiff’s Complaint.

                                           COUNT I - NEGLIGENCE

                                                        11.

                Target incorporates and restates its responses to the above paragraphs of the Plaintiff’s

        Complaint as if fully set forth herein.

                                                        12.

                Target states that the allegations contained in Paragraph 12 contain legal conclusions to

        which no answer is required; however, to the extent that an answer is required, Target denies such




                                                    Page 4 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 31 of 50




        statements as an inaccurate or incomplete representation of the laws. Target denies the remaining

        allegations contained in Paragraph 12 of Plaintiff’s Complaint.

                                                        13.

                Target denies the allegations contained in Paragraph 13 of Plaintiff’s Complaint.

                                                        14.

                Target denies the allegations contained in Paragraph 14 of Plaintiff’s Complaint.

                                     COUNT II – PREMISES LIABILITY

                                                        15.

                Target incorporates and restates its responses to the above paragraphs of the Plaintiff’s

        Complaint as if fully set forth herein.

                                                        16.

                Target states that the allegations contained in Paragraph 16 contain legal conclusions to

        which no answer is required; however, to the extent that an answer is required, Target denies such

        statements as an inaccurate or incomplete representation of the laws. Target denies the remaining

        allegations contained in Paragraph 16 of Plaintiff’s Complaint.

                                                        17.

                Target denies the allegations contained in Paragraph 17 of Plaintiff’s Complaint.

                                                        18.

                Target denies the allegations contained in Paragraph 18 of Plaintiff’s Complaint.

                                                        19.

                Target denies the allegations contained in Paragraph 19 of Plaintiff’s Complaint.

                                                        20.

                Target denies the allegations contained in Paragraph 20 of Plaintiff’s Complaint.




                                                    Page 5 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 32 of 50




                                                        21.

                Target denies the allegations contained in Paragraph 21 of Plaintiff’s Complaint.

                                                        22.

                Target denies the allegations contained in Paragraph 22 of Plaintiff’s Complaint.

                                                        23.

                Target denies the allegations contained in Paragraph 23 of Plaintiff’s Complaint.

                                                        24.

                Target denies the allegations contained in Paragraph 24 of Plaintiff’s Complaint.

                                                        25.

                Target denies the allegations contained in Paragraph 25 of Plaintiff’s Complaint.

                          COUNT III – NEGLIGENT, RECKLESS AND WANTON
                                    SUPERVISION AND TRAINING

                                                        26.

                Target incorporates and restates its responses to the above paragraphs of the Plaintiff’s

        Complaint as if fully set forth herein.

                                                        27.

                Target states that the allegations contained in Paragraph 27 contain legal conclusions to

        which no answer is required; however, to the extent that an answer is required, Target denies such

        statements as an inaccurate or incomplete representation of the laws. Target denies the remaining

        allegations contained in Paragraph 27 of Plaintiff’s Complaint.

                                                        28.

                Target denies the allegations contained in Paragraph 28 of Plaintiff’s Complaint as written.

                                                        29.

                Target denies the allegations contained in Paragraph 29 of Plaintiff’s Complaint.



                                                    Page 6 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 33 of 50




                                                         30.

                Target denies the allegations contained in Paragraph 30 of Plaintiff’s Complaint.




                In response to Plaintiff’s unnumbered WHEREFORE paragraph, Target denies the

        paragraph in its entirety, denies each and every allegation not specifically admitted hereinabove,

        denies that Target was negligent, and denies that Plaintiff is entitled to recover any amount from

        Target herein. Any averment contained in Plaintiff’s Complaint which has not been expressly

        admitted by Target in this, its Answer and Defenses, is hereby denied and strict proof thereof is

        demanded.

                WHEREFORE, having fully responded to Plaintiff’s Complaint by the filing of the within

        and foregoing Answer and Defenses, Defendant Target Corporation prays:

                (a)    That judgment is rendered in favor of Target and against Plaintiff;

                (b)    That it be discharged with all costs cast against Plaintiff;

                (c)    That this matter be tried by a jury of twelve persons regarding any issues not subject

                       to summary adjudication; and,

                (d)    For such other and further relief as is just and proper.



                Respectfully submitted this the 17th day of September, 2021.




                                 [SIGNATURE ON THE FOLLOWING PAGE]




                                                    Page 7 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 34 of 50




         GRAY, RUST, ST. AMAND,
         MOFFETT & BRIESKE, L.L.P.
         950 East Paces Ferry Road, N.E.                  /s/ Sean Herald_____________
         Suite 1700 – Salesforce Tower Atlanta            Matthew G. Moffett
         Atlanta, Georgia 30326                           Georgia Bar No. 515323
         Telephone:    (404) 870-7390                     Sean T. Herald
         Facsimile:    (404) 870-1030                     Georgia Bar No. 246729
                                                          Attorneys for Defendant Target Corporation




                                                    Page 8 of 9
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2AMFiled
                                                     9/17/2021 10:19         11/12/21 Page 35 of 50




                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SUMINTRA K. KHAN,                                 )
                                                           )
                 Plaintiff,                                )
                                                           )      CIVIL ACTION
         v.                                                )      FILE NO. STCV21-01554
                                                           )
         TARGET CORPORATION,                               )
                                                           )
                 Defendant.                                )
                                                           )

                                         CERTIFICATE OF SERVICE

                This is to certify that I have this day served a copy of the foregoing DEFENDANT

        TARGET        CORPORATION’S           ANSWER           AND   DEFENSES        TO   PLAINTIFF’S

        COMPLAINT with the Clerk of Court using the electronic filing system, which will send

        electronic notification to the following counsel of record and/or via United States Postal Service

        with adequate postage affixed thereto to the following:

                                          J. Ross Massey, Esq.
                                          Saif S. Ahmed, Esq.
                                   SHUNNARAH INJURY LAWYERS, P.C.
                                        1374 S. Milledge Avenue
                                         Athens, Georgia 30605

                Respectfully submitted this the 17th day of September, 2021.

         GRAY, RUST, ST. AMAND,
         MOFFETT & BRIESKE, L.L.P.                        /s/ Sean Herald_____________
         950 East Paces Ferry Road, N.E.                  Sean T. Herald
         Suite 1700 – Salesforce Tower Atlanta            Georgia Bar No. 246729
         Atlanta, Georgia 30326                           Attorneys for Defendant Target Corporation
         Telephone:    (404) 870-7390
         Facsimile:    (404) 870-1030




                                                    Page 9 of 9
      Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 36 of 50




                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA


 SUMINTRA K. KHAN,
                                                      CIVIL ACTION
        Plaintiff,                                    FILE NO. STCV21-01554

 v.

 TARGET CORPORATION,

        Defendant.

                   DEFENDANT TARGET CORPORATION’S
      FIRST REQUESTS FOR ADMISSIONS TO PLAINTIFF SUMINTRA K. KHAN

TO:            Sumintra K. Khan
               c/o: J. Ross Massey, Esq.
               SHUNNARAH INJURY LAWYERS, P.C.
               1374 S. Milledge Avenue
               Athens, Georgia 30605

       Pursuant to O.C.G.A. § 9-11-36, Defendant Target Corporation (hereinafter referred to as

“Defendant” or “Target”), requests Plaintiff Sumintra K. Khan (the “Plaintiff”) to make the

following admissions for the purpose of this action only, and subject to all pertinent objections to

admissibility which may be interposed at the trial:

                                         DEFINITIONS

1.     The term “PLAINTIFF,” “YOU,” and “YOUR” refers to the responding party, Plaintiff

       Sumintra K. Khan.

2.      The terms “DEFENDANT” refers to the propounding party.

3.     The term “ACCIDENT” refers to the accident referred to in the Plaintiff’s Complaint.




                                            Page 1 of 3
   Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 37 of 50




                            REQUESTS FOR ADMISSIONS

  1. The amount in controversy, exclusive of interest and costs, in this matter exceeds

      $75,000.00.

  2. Plaintiff seeks to recover special damages in this case in an amount greater than

      $75,000.00.

  3. Plaintiff seeks to recover damages in this case in an amount greater than or equal to

      $75,000.00.



             Respectfully submitted this the 21st day of September, 2021.

GRAY, RUST, ST. AMAND,
MOFFETT & BRIESKE, L.L.P.                      /s/ Sean Herald_____________
950 East Paces Ferry Road, N.E.                Sean T. Herald
Suite 1700 – Salesforce Tower Atlanta          Georgia Bar No. 246729
Atlanta, Georgia 30326                         Attorneys for Defendant Target Corporation
Telephone:    (404) 870-7390
Facsimile:    (404) 870-1030




                                        Page 2 of 3
      Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 38 of 50




                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA

 SUMINTRA K. KHAN,

        Plaintiff,                                  CIVIL ACTION
                                                    FILE NO. STCV21-01554
 v.

 TARGET CORPORATION,

        Defendant.


                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing DEFENDANT

TARGET CORPORATION’S FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF

SUMINTRA K. KHAN upon all counsel of record via electronic mail and by depositing same in

the United States mail in a properly addressed envelope with adequate postage thereon to:

                                 J. Ross Massey, Esq.
                                 Saif S. Ahmed, Esq.
                          SHUNNARAH INJURY LAWYERS, P.C.
                               1374 S. Milledge Avenue
                                Athens, Georgia 30605

       Respectfully submitted this the 21st day of September, 2021.

 GRAY, RUST, ST. AMAND,
 MOFFETT & BRIESKE, L.L.P.                       /s/ Sean Herald_____________
 950 East Paces Ferry Road, N.E.                 Sean T. Herald
 Suite 1700 – Salesforce Tower Atlanta           Georgia Bar No. 246729
 Atlanta, Georgia 30326                          Attorneys for Defendant Target Corporation
 Telephone:    (404) 870-7390
 Facsimile:    (404) 870-1030




                                          Page 3 of 3
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2PM
                                                     9/21/2021 1:37     Filed 11/12/21 Page 39 of 50




                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SUMINTRA K. KHAN,                                  )
                                                            )
                 Plaintiff,                                 )      CIVIL ACTION
                                                            )      FILE NO. STCV21-01554
         v.                                                 )
                                                            )
         TARGET CORPORATION,                                )
                                                            )
                 Defendant.                                 )

                            DEFENDANT TARGET CORPORATION’S
                 RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

                THIS CERTIFIES that pursuant to Uniform Rule of State Court 5.2, I have this day served

        a copy of the following discovery documents upon opposing counsel in the above-styled action:

                    1. Defendant Target Corporation’s First Requests for Admissions to Plaintiff

                        Sumintra K. Khan.

                Respectfully submitted the 21st day of September, 2021.

         GRAY, RUST, ST. AMAND,
         MOFFETT & BRIESKE, L.L.P.                          /s/ Sean T. Herald
         950 East Paces Ferry Road, N.E.                    Matthew G. Moffett
         Suite 1700 – Salesforce Tower Atlanta              Georgia State Bar No.: 515323
         Atlanta, Georgia 30326                             Sean T. Herald
         Telephone:    (404) 870-7390                       Georgia State Bar No.: 246729
         Facsimile:    (404) 870-1030                       Attorneys for Defendant




                                                     Page 1 of 2
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2PM
                                                     9/21/2021 1:37     Filed 11/12/21 Page 40 of 50




                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SUMINTRA K. KHAN,                                  )
                                                            )
                 Plaintiff,                                 )      CIVIL ACTION
                                                            )      FILE NO. STCV21-01554
         v.                                                 )
                                                            )
         TARGET CORPORATION,                                )
                                                            )
                 Defendant.                                 )


                                         CERTIFICATE OF SERVICE

                This is to certify that I have this day served a copy of the foregoing DEFENDANT

        TARGET CORPORATION’S RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

        MATERIALS with the Clerk of Court using the Court’s electronic filing-and-service system,

        which will send electronic notification to all parties having appeared of record in this action:

                                          J. Ross Massey, Esq.
                                          Saif S. Ahmed, Esq.
                                   SHUNNARAH INJURY LAWYERS, P.C.
                                        1374 S. Milledge Avenue
                                           Athens, GA 30605


                Dated the 21st day of September, 2021.

         GRAY, RUST, ST. AMAND,
         MOFFETT & BRIESKE, L.L.P.                          /s/ Sean T. Herald
         950 East Paces Ferry Road, N.E.                    Matthew G. Moffett
         Suite 1700 – Salesforce Tower Atlanta              Georgia State Bar No.: 515323
         Atlanta, Georgia 30326                             Sean T. Herald
         Telephone:    (404) 870-7390                       Georgia State Bar No.: 246729
         Facsimile:    (404) 870-1030                       Attorneys for Defendant




                                                     Page 2 of 2
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2PM
                                                     10/4/2021 3:01     Filed 11/12/21 Page 41 of 50




                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SUMINTRA K. KHAN,                                  )
                                                            )
                 Plaintiff,                                 )      CIVIL ACTION
                                                            )      FILE NO. STCV21-01554
         v.                                                 )
                                                            )
         TARGET CORPORATION,                                )
                                                            )
                 Defendant.                                 )
                                                            )

                            DEFENDANT TARGET CORPORATION’S
                 RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

                THIS CERTIFIES that pursuant to Uniform Rule of State Court 5.2, I have this day served

        a copy of the following discovery documents upon counsel in the above-styled action:

                1) Defendant Target Corporation’s Responses and Objections to Plaintiff’s First
                   Interrogatories to Defendant Target Corporation; and

                2) Defendant Target Corporation’s Responses and Objections to Plaintiff’s First
                   Request for Production of Documents to Defendant Target Corporation.

                Respectfully submitted this 4th day of October, 2021.

         GRAY, RUST, ST. AMAND,                             /s/ Sean T. Herald
         MOFFETT & BRIESKE, L.L.P.                          Matthew G. Moffett
         950 East Paces Ferry Road, N.E.                    Georgia State Bar No.: 515323
         Suite 1700 – Salesforce Tower Atlanta              Sean T. Herald
         Atlanta, Georgia 30326                             Georgia State Bar No.: 246729
         Telephone:    (404) 870-7445                       Attorneys for Defendant Target Corporation
         Facsimile:    (404) 870-1030




                                                     Page 1 of 2
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2PM
                                                     10/4/2021 3:01     Filed 11/12/21 Page 42 of 50




                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SUMINTRA K. KHAN,                                  )
                                                            )
                 Plaintiff,                                 )      CIVIL ACTION
                                                            )      FILE NO. STCV21-01554
         v.                                                 )
                                                            )
         TARGET CORPORATION,                                )
                                                            )
                 Defendant.                                 )
                                                            )


                                         CERTIFICATE OF SERVICE

                This is to certify that I have this day served a copy of the foregoing DEFENDANT

        TARGET CORPORATION’S RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

        MATERIALS with the Clerk of Court using the Court’s electronic filing-and-service system,

        which will send electronic notification to all parties having appeared of record in this action:

                                          J. Ross Massey, Esq.
                                          Saif S. Ahmed, Esq.
                                   SHUNNARAH INJURY LAWYERS, P.C.
                                        1374 S. Milledge Avenue
                                           Athens, GA 30605

                Dated this 4th day of October, 2021.

                                                                /s/ Sean T. Herald
                                                                Sean T. Herald
                                                                Georgia State Bar No.: 246729




                                                     Page 2 of 2
      Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 43 of 50




                  IN THE STATE COURT OF CHATHAM COUNTY
                             STATE OF GEORGIA

SUMINTRA K. KHAN,                       )
                                        )
     Plaintiff,                         )
                                        )
v.                                      )      CIVIL ACTION
                                        )      FILE NO: STCV21-01554
TARGET CORPORATION,                     )
                                        )
     Defendant.                         )
                                        )
                                        )
                                        )

        PLAINTIFF SUMINTRA K. KAHAN’S RESPONSE TO
     DEFENDANT TARGET CORPORATION’'S FIRST REQUESTS
                      FOR ADMISSION

        COMES NOW Sumintra Khan and responds to Defendant’s First Request

for Admissions as follows:

                             GENERAL OBJECTIONS

        Plaintiff states that she is continuing to investigate the facts surrounding the

incident which is the subject of Plaintiff’s Complaint and, therefore, further and/or

different information may become available. Accordingly, Plaintiff reserves the

right to supplement their responses to Defendant’s First Requests for Admission in

accordance with O.C.G.A. § 9-11-26(e).          Additionally, Plaintiff objects to all

instructions, directions and definitions contained in Defendants’ First Requests for

Admission to the extent they differ from the Georgia Civil Practice Act and all
    Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 44 of 50




other relevant provisions of Georgia law. Plaintiff shall provide responses to these

First Requests for Admission in accordance with the Georgia Civil Practice Act

and all other relevant provisions of Georgia law.

      Subject to and without waiving the above-stated objections, Plaintiffs

respond to Defendant’s numbered Requests as follows:

                         REQUESTS FOR ADMMISSION

                                         1.

      The amount in controversy, exclusive of interest and costs, in this matter

exceeds $75,000.00

      RESPONSE:             Admitted.

                                         2.

      Plaintiff seeks to recover special damages in this case in an amount greater

than $75,000.00

      RESPONSE:             Admitted.

                                         3.

      Plaintiff seeks to recover damages in this case in an amount greater than or

equal to $75,000.00

      RESPONSE:             Admitted.



      This 29th day of October, 2021.



                                         -2-
   Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 45 of 50




                                          Respectfully Submitted,


                                          /s/ J. Ross Massey
                                          J. ROSS MASSEY
                                          Georgia Bar No. 788136
                                          Attorney for Plaintiff
SHUNNARAH INJURY LAWYERS, PC
1374 S. Milledge Avenue
Athens, GA 30605
(706)248-5244 | Telephone
(205)983-8445 | Fax
rmassey@asilpc.com




                                    -3-
     Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 46 of 50




                                  CERTIFICATE OF SERVICE

       I hereby certify that I have this day served the within and foregoing pleading upon all

parties to this matter via electronic mail, to all counsel of record as follows:

                                     Sean T. Herald
                 GRAY, RUST, ST. AMAND, MOFFETT, & BRIESKE, L.L.P.
                            950 East Paces Ferry Road, N.E.
                                  Atlanta, GA 30326
                                  sherald@grsmb.com


       This 29th day of October, 2021



                                                        /s/ J. Ross Massey
                                                        J. ROSS MASSEY
                                                        Georgia Bar No. 788136
                                                        Attorney for Plaintiff
SHUNNARAH INJURY LAWYERS, PC
1374 S. Milledge Avenue
Athens, GA 30605
(706)248-5244 | Telephone
(205)983-8445 | Fax
rmassey@asilpc.com




                                                  -4-
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2 AM
                                                     10/29/2021 10:56 Filed   11/12/21 Page 47 of 50




                          IN THE STATE COURT OF CHATHAM COUNTY
                                     STATE OF GEORGIA

        SUMINTRA K. KHAN,                             )
                                                      )
             Plaintiff,                               )
                                                      )
        v.                                            )       CIVIL ACTION
                                                      )       FILE NO: STCV21-01554
        TARGET CORPORATION,                           )
                                                      )
             Defendant.                               )
                                                      )
                                                      )
                                                      )

                                            RULE 5.2 CERTIFICATE
                In accordance with Uniform State Court Rule 5.2, as amended, the undersigned hereby

        certifies that the following discovery has been served upon counsel of record in the foregoing matter

        via electronic mail:

             1. Plaintiff Sumintra K. Khan’s Responses to Defendant Target Corporation’s First Requests
                for Admission

                This 29th day of October, 2021.

                                                              Respectfully Submitted,

                                                              /s/ J. Ross Massey
                                                              J. ROSS MASSEY
                                                              Georgia Bar No. 788136
                                                              Saif S. Ahmed
                                                              Georgia Bar No. 7684067
                                                              Counsel for Plaintiff
        SHUNNARAH INJURY LAWYERS, P.C.
        1374 S. Milledge Avenue
        Athens, GA 30605
        (706) 355-6005 | Telephone
        (205) 983-8445 | Fax

                                                          1
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2 AM
                                                     10/29/2021 10:56 Filed   11/12/21 Page 48 of 50




        rmassey@asilpc.com
        sahmed@asilpc.com




                                                          2
             CaseSTATE
RECEIVED FOR FILING, 4:21-cv-00329-RSB-CLR       Document
                         COURT CLERK CHATHAM CO. GA,            1-2 AM
                                                     10/29/2021 10:56 Filed   11/12/21 Page 49 of 50




                                          CERTIFICATE OF SERVICE

                I hereby certify that I have this day served the within and foregoing pleading upon all parties

        to this matter via electronic mail, to all counsel of record as follows:

                                              Sean T. Herald
                          GRAY, RUST, ST. AMAND, MOFFETT, & BRIESKE, L.L.P.
                                     950 East Paces Ferry Road, N.E.
                                           Atlanta, GA 30326
                                           sherald@grsmb.com


                This 29th day of October, 2021

                                                       Respectfully Submitted,

                                                               /s/ J. Ross Massey
                                                               J. ROSS MASSEY
                                                               Georgia Bar No. 788136
                                                               Saif S. Ahmed
                                                               Georgia Bar No. 7684067
                                                               Counsel for Plaintiff
        SHUNNARAH INJURY LAWYERS, P.C.
        1374 S. Milledge Avenue
        Athens, GA 30605
        (706) 355-6005 | Telephone
        (205) 983-8445 | Fax
        rmassey@asilpc.com
        sahmed@asilpc.com




                                                          3
 Case 4:21-cv-00329-RSB-CLR Document 1-2 Filed 11/12/21 Page 50 of 50

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/18/2021
                                                                                                    CT Log Number 540095537
TO:         Sue Carlson
            Target Corporation
            1000 NICOLLET MALL
            MINNEAPOLIS, MN 55403-2542

RE:         Process Served in Georgia

FOR:        Target Corporation (Domestic State: MN)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  SUMINTRA K. KHAN, Pltf. vs. TARGET CORPORATION, Dft.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # STCV2101554
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Lawrenceville, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 08/18/2021 at 11:02
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/18/2021, Expected Purge Date:
                                                  08/23/2021

                                                  Image SOP

                                                  Email Notification, Non Employee Litigation Target gl.legal@target.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  289 S. Culver St.
                                                  Lawrenceville, GA 30046
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / SA
